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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                                Case No.: 1:18-cr-20336-CMA]

 UNITED STATES OF AMERICA            )
                                     )
       Plaintiff,                    )
                                     )
 vs.                                 )
                                     )
 DELANEY EQUITY GROUP LLC,           )
                                     )
       Defendant.                    )
 ___________________________________ )

                                 NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that Elan A. Gershoni, Esq. of DLA Piper LLP (US) hereby

 enters his appearance as counsel for Defendant, DELANEY EQUITY GROUP LLC. Please

 furnish the undersigned counsel, Elan A. Gershoni, Esq., with copies of all orders, notices,

 pleadings, motions, and correspondence regarding this proceeding from this date forward.

        Respectfully submitted this 26th day of April, 2018.

                                                    DLA PIPER LLP (US)

                                                    /s/ Elan A. Gershoni
                                                    Elan A. Gershoni (FBN: 95969)
                                                    elan.gershoni@dlapiper.com
                                                    DLA Piper LLP (US)
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                                                    Tel.: 305.423.8567
                                                    Fax.: 305.437.8131
                                                    Counsel for Delaney Equity Group
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served this

 26th day of April, 2018, by the Notice of Electronic Filing, and was electronically filed with the

 Clerk of the Court via the CM/ECF system, which generates a notice of the filing to all attorneys

 of record.

                                                     /s/Elan A. Gershoni
                                                     Elan A. Gershoni
